
268 N.E.2d 80 (1971)
STATE of Indiana, Appellant,
v.
John Lowell HAWLEY, Appellee.
No. 869S184.
Supreme Court of Indiana.
April 1, 1971.
*81 Theodore L. Sendak, Atty. Gen., Robert F. Hassett, Deputy Atty. Gen., for appellant.
Raymond R. Tanner, Winchester, for appellee.
ARTERBURN, Chief Justice.
This is a criminal action in which the State appeals. Hawley was jointly indicted with one Brady for the crime of first degree murder. A number of pretrial pleadings were filed by both parties. The sole question before us is whether or not the appellee Hawley was entitled to be discharged under Rule 1-4D(1), which is now CR. 4(A), because of the delay in bringing him to trial within a period of six months. Rule 1-4D(1) reads as follows:
"Defendant in Jail.  No defendant shall be detained in jail on a charge, without a trial, for a continuous period embracing more than six [6] months from the date the criminal charge against such defendant is filed, or from the date * * * of his arrest on such charge (which ever is later); except where * * * the delay was caused by his act, * * *." (Emphasis added).
The chronological sequence of events in this case, as revealed by the record, is as follows:

  April 20, 1968 __________________ Hawley arrested.
  May 9, 1968 _____________________ Indictment filed in Randolph Circuit
                                    Court charging Hawley and Brady with
                                    first degree murder. Hawley and Brady
                                    arrested.
  May 11, 1968 ____________________ Arraignment continued at request of
                                    Hawley and Brady, to May 24, 1968.
  May 24, 1968 ____________________ Hawley and Brady file Motions to Quash.
  June 3, 1968 ____________________ Motions to Quash overruled. Arraignment
                                    set for June 14, 1968.
  June 14, 1968 ___________________ Hawley and Brady file Pleas in
                                    Abatement.
  June 17, 1968 ___________________ Hearing on Pleas in Abatement.
  June 22, 1968 ___________________ Pleas in Abatement overruled.
  June 26, 1968 ___________________ Court enters pleas of not guilty for
                                    Hawley and Brady.
  June 26, 1968 ___________________ Hawley moves for change of venue from
                                    county. Granted.
  July 10, 1968 ___________________ Venue perfected to Delaware Circuit
                                    Court.
  July 11, 1968 ___________________ Cause set for trial on September 16,
                                    1968.
  August 26, 1968 _________________ Brady files motion to strike and
                                    expunge Randolph Court's entry of not
                                    guilty plea.


*82
  September 4, 1968 _______________ Hawley files motion to strike and
                                    expunge Randolph Court's entry of not
                                    guilty plea. Hearing set for September
                                    11, 1968.
  September 11, 1968 ______________ Pleas of not guilty set aside.
                                    Arraignment set for September 13, 1968.
  September 13, 1968 ______________ Hawley and Brady file petitions to
                                    reconsider Randolph Court's rulings on
                                    Pleas in Abatement and Motions to
                                    Quash. Argument set for September
                                    26, 1968.
  September 26, 1968 ______________ Argument on petitions to reconsider.
                                    Court takes under advisement until
                                    September 30, 1968.
  September 30, 1968 ______________ Petitions to reconsider overruled.
  October 8, 1968 _________________ Brady files plea of insanity. Court
                                    appoints two (2) physicians to examine
                                    him.
  October 8, 1968 _________________ Hawley files motion for severance and
                                    separate trial.
  October 8, 1968 _________________ Hawley and State granted time to submit
                                    briefs on his motion for severance.
                                    Court advises it will hold motion in
                                    abeyance pending a ruling on Brady's
                                    insanity.
  October 8, 1968 _________________ Hawley arraigned, and pleads not
                                    guilty.
  January 7, 1969 _________________ Dr. Gerber's report filed.
  January 14, 1969 ________________ Dr. Yarling's report filed.
  January 15, 1969 ________________ Hawley's motion for severance denied.
  January 15, 1969 ________________ Cause set for trial on March 24, 1969.
  March 5, 1969 ___________________ Brady files Petition for Discharge.
  March 10, 1969 __________________ Hawley files Motion for Discharge.
  March 12, 1969 __________________ Brady files motion for continuance on
                                    insanity hearing.
  March 24, 1969 __________________ Hawley's and Brady's Motions for
                                    Discharge denied.
  March 24, 1969 __________________ Argument heard on Brady's motion for
                                    continuance. Hearing continued to
                                    March 26, 1969.
  March 24, 1969 __________________ Hawley files Motion for Discharge and
                                    Motion to Produce. Motion to Produce
                                    granted.


*83
  March 26, 1969 __________________ Hearing on Brady's insanity plea. Court
                                    finds Brady able to stand for trial.
  April 15, 1969 __________________ Hawley files Motion for Discharge.
                                    Hearing set for May 7, 1969.
  May 1, 1969 _____________________ Hawley files Fourth Motion for
                                    Discharge. Hearing set for May 7, 1969.
  May 7, 1969 _____________________ Hearing on Hawley's Motion for
                                    Discharge.
  May 20, 1969 ____________________ Hawley discharged.

It is first contended that a motion for a new trial is the appropriate way to raise the question here. With this we do not agree. There was no trial. The court sustained a motion by the defendant for his discharge from custody, based upon the record under the rule referred to. In Wiltrout, Indiana Practice, Vol. 2, § 1774, p. 545 it is stated: "A motion for a new trial is not appropriate where there has been no trial and such a motion presents nothing for review."
It will be noted from this rule that the defendant must be guilty of some act which caused the delay in bringing him to trial. Hawley's motion for a separate trial was an act causing a delay. The co-defendant Brady, it is true, asked for a continuance on an insanity hearing as to whether or not he could stand trial, but this was not the fault of Hawley.
The State argues that prior to the denial of the motion to separate on January 15th, Hawley had engaged in certain delaying actions which delayed his trial. With this we are inclined to agree. Such actions tolled the running of the rule. The six months period began to run thereafter, when he got a ruling on his motion to separate for a separate trial from Brady, which was denied. That date was January 15, 1969.
We can understand the court's delay by reason of the pending insanity inquest of the co-defendant Brady, but we need not determine at this time whether or not the court could delay the trial of the appellant for that reason, because they were co-defendants. The six months rule for discharge began to run from January 15, 1969. However, the court, before the six months period had run, namely, on May 20, 1969, granted the appellant's motion to be discharged. In this the court was in error, and it is unclear to us from what date the court appeared to calculate the running time of the discharge rule. Motions for severance was an act of the defendant, causing a delay to which he apparently had no right, so far as the record shows, since the court, in its discretion, denied his motion. It thus caused a delay, to which delaying time he was not entitled to credit. In the neighboring State of Illinois such motions are considered delaying acts. People v. Holtz (1913), 261 Ill. 239, 103 N.E. 1007; People ex rel. Woodruff v. Matson (1889), 129 Ill. 591, 22 N.E. 456.
For the reasons stated, the order of discharge of the trial court is reversed, and the trial court is ordered to vacate same.
GIVAN, PRENTICE and HUNTER, JJ., concur.
DeBRULER, J., dissents with opinion.
DeBRULER, Judge (dissenting).
I would affirm the ruling of the trial court in sustaining appellee's motion for discharge. The delay here in issue is the period from October 8, 1968, the day on which appellee entered his plea of not guilty *84 and filed his motion for separate trial, to January 15, 1969, the day the court denied that motion. If this delay was caused by the act of the appellee in filing his motion for separate trial, the trial court erred in discharging the appellee. In my judgment, the entire period should not be attributed to the filing of this motion. The only part of this period properly attributed to the motion is that time necessary for trial court to rule on the motion, and the remainder of the delay would not be caused by the pending motion. In this case, the trial court stated that he was delaying the ruling on the motion for the reason that the co-defendant had entered a plea of insanity. Such a turn of events is obviously no responsibility of the appellee.
In my opinion, ten days would constitute a reasonable period for the trial court to study the motion, hear arguments, if necessary, and to rule on the motion. I would, therefore, consider the delay from October 28, 1968, the end of such ten day period, to January 15, 1969, as delay not caused by the act of the appellee.
There being no further delays, after the filing of this motion for separate trial, attributable to the appellee, the trial court was correct in finding a delay of six months, as of May 1, 1969, the date the motion for discharge was filed.
